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|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 SEP “2 AH H'~ 30
WESTERN DlVlSlON

 

 

UN|TED STATES OF AN|ER|CA
Plaintiff

VS.
CR. NO. 05-20102-D

BR|AN EDWARD SLAYTON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FV|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
report date of Thursday, September 2_2,_2005. at Q:Qt_)_,g.m., in Courtroom 3. 9th F|oor
of the Federal Building, Nlemphis, TN.

The period from September 16, 2005 through October 14, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy trial.

lT lS SO ORDERED this §§ day of September, 2005.

  

D STATES D|STR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CR-20102 Was distributed by faX, mail, or direct printing on
September 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

